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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

JOANNE S. BOROEVICH,                        *    No. CV-17-131-GF-BMM
                                            *
                     Plaintiff,             * ORDER
          v.                                *
                                            *
DUECK BROTHERS TRUCKING,                    *
LTD., HENRY W. HOFMAN, AND                  *
DOES 1-5                                    *
                                            *
                     Defendants.            *
                                            *

      Pursuant to the Stipulation for Dismissal with Prejudice, IT IS HEREBY

ORDERED that the above-entitled action be dismissed on the merits, with prejudice,

as fully and finally compromised, each party to pay their own costs.

      DATED this 10th day of December, 2018.
